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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW HAMPSHIRE



 JOHN DOE,

                          Plaintiff,                   Civil Action No. 19-cv-000013-JL
           v.

TRUSTEES OF DARTMOUTH COLLEGE,

                          Defendant.



                  PLAINTIFF’S MOTION FOR EXPEDITED CONSIDERATION

       Plaintiff John Doe, by and through his attorneys, Shaheen & Gordon, P.A., hereby moves

for expedited consideration of the captioned matter pursuant to 28 U.S.C. § 1657(a) and the

Court’s inherent authority to manage its docket. In support of this Motion, John states as

follows:

       1.          If trial is scheduled for June 18, 2019, or earlier, and John ultimately prevails and

is able to return for the Summer 2019 Term, it is mathematically and practically possible for

John to complete his Economics degree on time and graduate with his peers at the conclusion of

the Spring 2020 Term, given the number and nature of the courses that he has already completed

at Dartmouth. If he is unable to return to Dartmouth until the Fall 2019 Term or the Winter 2020

Term, it would be impossible for him to graduate on time.

       2.          Additionally, and as explained further in John’s Motion for Preliminary

Injunction (Docs. 4 and 4-1) and Motion for Temporary Restraining Order (Doc. 13), continued

delay of the resolution of this case only increases the irreparable harm to John, including with

regard to his academics, his collegiate hockey career, and his future career in finance.
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       3.      Good cause exists for expediting this matter pursuant to 28 U.S.C. § 1675(a),

because in the absence of expedited consideration there is a significant likelihood that any relief

granted would be deprived of much of its value, and John would suffer extraordinary hardship.

Further, the public interest in the enforcement of Title IX is particularly strong.

       4.      Furthermore, the Court has inherent authority to expedite the consideration of this

case as part of its inherent authority to manage its own docket.

       5.      Pursuant to Local Rule 7(c), undersigned counsel contacted counsel for

Dartmouth and asked that Dartmouth assent to expedited consideration of this matter as

requested below. Dartmouth declined to assent.

       6.      John’s Memorandum of Law in Support of this Motion for Expedited

Consideration is being filed contemporaneously herewith.

       WHEREFORE, John Doe respectfully requests that this Court:

       A.      Grant this Motion;

       B.      Expedite consideration of this matter by scheduling trial to begin on May 7, 2019
or June 18, 2019 and setting an expedited discovery and dispositive motion schedule
accordingly; and

       C.      Award any such further relief as the Court deems just and proper.




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                                                    Respectfully submitted,


Date: February 13, 2019                             /s/ William E. Christie
                                                    WILLIAM E. CHRISTIE
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                                                    S. AMY SPENCER
                                                    NH Bar #266617
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                                                    Attorneys for plaintiff John Doe


                                CERTIFICATE OF SERVICE

       I, William E. Christie, hereby certify that a copy of the foregoing document, filed through
the CM/ECF system, will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing (NEF).


                                                    /s/ William E. Christie
                                                    William E. Christie




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